Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 1 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 2 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 3 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 4 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 5 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 6 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 7 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 8 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 9 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 10 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 11 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 12 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 13 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 14 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 15 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 16 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 17 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 18 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 19 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 20 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 21 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 22 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 23 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 24 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 25 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 26 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 27 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 28 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 29 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 30 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 31 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 32 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 33 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 34 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 35 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 36 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 37 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 38 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 39 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 40 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 41 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 42 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 43 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 44 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 45 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 46 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 47 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 48 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 49 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 50 of 51
Case 4:10-cv-00239-BSM Document 58 Filed 08/12/11 Page 51 of 51
